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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


UNITED STATES OF AMERICA                                   3:17-CR- (, (\?,     ·-ro
              v.                                                            INDICTMENT

CHRISTIAN JENSEL CHAIDEZ,                                           21 U.S.C. §§ 84l(a)(l),
VIVIANA VALADEZ-RAMOS, and                                 841(b)(l)(A), 841(b)(l)(B), 846,
TEODORO DURAN III,                                                                 and 853

              Defendants.                                             Forfeiture Allegation


                                                                            UNDER SEAL




                            THE GRAND JURY CHARGES:

                                       COUNTl
              (Conspiracy to Distribute or Possess with Intent to Distribute
                                        Heroin)               _
                     (21 U.S.C. §§ 841(a)(l), 84l(b)(l)(A);aid 846)

      Beginning at a time unknown and continuing up to and including April 12, 2017, in the

District of Oregon, CHRISTIAN JENS EL CHAIDEZ, VIVIANA VALADEZ-RAMOS, and

TEODORO DURAN III, defendants herein, did knowingly and willfully combine, conspire,
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confederate and agree together, with each other, and with other persons known and unknown to

the grand jury, to possess with the intent to distribute and to distribute 1 kilogram or more of a

mixture or substance containing a detectable amount of heroin, a Schedule I controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(A); all in

violation of Title 21, United States Code, Section 846.

                                          COUNT2
                 (Possession with the Intent to Distribute Methamphetamine)
                           (21 U.S.C. §§ 84l(a)(l) and 841(b)(l)(A))

       On or about November 17, 2016, in the District of Oregon, CHRISTIAN JENSEL

CHAIDEZ, defendant herein, did knowingly and intentionally possess with the intent to

distribute fifty grams or more of actual methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(A).

                                          COUNT3
                 (Possession with the Intent to Distribute Methamphetamine)
                           (21 U.S.C. §§ 841(a)(l) and 84l(b)(l)(A))

       On or about December 9, 2016, in the District of Oregon, CHRISTIAN JENSEL

CHAIDEZ, defendant herein, did knowingly and intentionally possess with the intent to

distribute fifty grams or more of actual methamphetamine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(l) and (b)(l)(A).

                                          COUNT4
                       (Possession with the Intent to Distribute Heroin)
                           (21 U.S.C. §§ 84l(a)(l) and 841(b)(l)(A))

       Beginning at a time unknown and continuing up to and including April 12, 2017, in the

District of Oregon, VIVIANA VALADEZ-RAMOS, defendant herein, did knowingly and

intentionally possess with the intent to distribute 1 kilogram or more of a mixture or substance



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containing a detectable amount of heroin, a Schedule I controlled substance, in violation of Title

21, United States Code, Sections 84l(a)(l) and (b)(l)(A).

                          CRIMINAL FORFEITURE ALLEGATION

       Upon conviction of any of the controlled substance offenses alleged in Counts 1-4 of this

Indictment, CHRISTIAN JENSEL CHAIDEZ, VIVIANA VALADEZ-RAMOS, and

TEODORO DURAN III; defendants herein, shall forfeit to the United States, pursuant to Title

21, United States Code, Section 853, any property constituting, or derived from, any proceeds

obtained, directly or indirectly, as a result of the said violations and any property used, or

intended to be used, in any manner or part, to commit, or to facilitate the commission of said

violations, including but not limited to the following:

       A money judgment for a sum of money equal to the amount of property representing the

amount of proceeds obtained as a result of the controlled substances distributed as alleged in

Counts 1-4, for which the defendants are jointly and severally liable.

       If any of the above-described forfeitable property, as a result of any act or omission of the

defendants:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third person;

               (3)     has been placed beyond the jurisdiction of the Court;

               (4)     has been substantially diminished in value; or

               (5)     has been commingled with other property which cannot be subdivided

                       without difficulty;




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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 982(b ), to seek forfeiture of any other property of said defendants up to the value of the

forfeitable property described above.

       Dated thiszr'\.. day of June 2017.

                                                      A TRUE BILL.




Presented by:

BILLY J. WILLIAMS
United States Attorney



       L. STRICKLAND, OSB #96118
As ·stant United States Attorney




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